 Case: 5:23-cr-00009-KKC-MAS       Doc #: 226 Filed: 03/21/25     Page: 1 of 3 - Page
                                      ID#: 1623
                                                                   Eastern District of Kentucky
                                                                               FILED
                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF KENTUCKY                        MAR 2 i 2025
                             CENTRAL DIVISION                               AT LEXINGTON
                                                                              Robert R. Carr
                                LEXINGTON                           (ll..ERK I.Ml, CISTRIOT COi.im'




UNITED STATES OF AMERICA,                       CRIMINAL NO. 5:23-09-KKC-MAS
     Plaintiff,

V.                                                      VERDICT FORM

JOSE ALZADON, M.D.,
MICHAEL BREGENZER, AND BARBIE
VANHOOSE,
     Defendants.



                                      *** *** ***
As to Count One of the Superseding Indictment , we the jury find·
                              GUILTY                          NOT GUILTY
                                                                    .
 Jose Alzadon                         '-{ (l)
 Michael Bregenzer                    Yn,
 Barbie Vanhoose                       V /J \



As to Count Four of the Superseding Indictment, we the jury find:
                               GUILTY                         NOT GUILTY
 Jose Alzadon                         y.,,,:1
 Michael Bregenzer                    "{ I) \

 Barbie Vanhoose                       Un\

As to Count Five of the Superseding Indictment , we the jmyfind·
                               GUILTY                        NOT GUILTY
 Jose Alzadon                          'ro Y
 Michael Bregenzer                     '-!es
 Barbie Vanhoose                        yp \
As to Count Six of the Superseding Indictment, we the jury find:
                               GUILTY                         NOT-GUILTY
 Jose Alzadon
 Michael Bregenzer
                                      r,,"'
                                         VeS
 Barbie Vanhoose                         v•"-' \·
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As to Count Seven of the Sunersedirn! Indictment , we the iury find·
                               GUILTY                          NOT GUILTY
 Jose Alzadon                           y (I, 'l
                                         \J
 Michael Bregenzer                        .e, )••,
 Barbie Vanhoose                          V,"' '';

As to Count Eight of the Superseding Indictment , we the j Ul.,, find·
                               GUILTY                             NOT GUILTY
 Jose Alzadon                          Y-e. 'i
 Michael Bregenzer                     Ye,
 Barbie Vanhoose                        Ye\

As to Count Nine of the Superseding Indictment, we the jury find·
                               GUILTY                        NOT GUILTY
 Jose Alzadon                           Ye<.1
 Michael Bregenzer                       Ye.,
 Barbie Vanhoose                          Ve\

As to Count Ten of the Superseding Indictment , we the jury find·
                              GUILTY           .               NOT GUILTY
 Jose Alzadon                           v e)
 Michael Bregenzer                        v ~ 1·
 Barbie Vanhoose                         '\~<e y

As to Count Eleven of the Superseding Indictment, we the iurv find·
                               GUILTY                        NOT GUILTY
 Jose Alzadon                             ves
 Michael Bregenzer                         v.e s·
 Barbie Vanhoose                          Ve.Y
Only consider Count Twelve for a Defendant if that Defendant has been found guilty of
Count One As to Count Twelve of the Sunerseding Indictment, we the iurv find·
                              GUILTY                        NOT GUILTY
 Jose Alzadon                            Ye.\'
 Michael Bregenzer                                                 Vt:'..T
 Barbie Vanhoose                          v~s·
Only consider Count Thirteen for a Defendant if that Defendant has been found guilty of
Count Su As to Count Thirteen of the Superseding Indictment , we the jury find·
                               GUILTY                       NOT GUILTY
 Jose Alzadon                           Ye>
 Michael Bregenzer                                                  'v
                                                                     7 <e '.>'
 Barbie Vanhoose                         Vi::.\
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As to Count Fourteen of the Suoerseding Indictment we the jury find·
                                                  '         NOT GUILTY
                               GUILTY
 Jose Alzadon                           1/le"._Y
 Michael Bregenzer                       'Yi:.c)'
 Barbie Vanhoose      .                   y,, l'


                                                               s10
                                                FOREPERSON




                                                DATE
